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UNITED STATES DISTRICT COURT

DISTRICT OF OREGON

PORTLAND DIVISION

DON PERKINS,

Plaintiff,
Vs.

CITY OF PORTLAND, OFC. ROGER
WALSH, OFC. BRADLEY CLARK,

Defendants.

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Case No. 3:18-cv-896

PLAINTIFF’S FIRST AMENDED
COMPLAINT AND
DEMAND FOR JURY TRIAL

Civil Action for Liability, Negligence,
Unlawful Use of Force, Civil Rights
Violations

(NOT SUBJECT TO MANDATORY
ARBITRATION ~ Claim for $1,308,719)

Filing Fee Deferral
(ORS 21.682}

COMES NOW Plaintiff, by and through his undersigned attorneys, for cause of action

against defendants alleges as follows:

I INTRODUCTION

1. This cause of action arises from violations of Plaintiff's civil rights, to be free from

the use of excessive force, including deadly force, by City of Portland law enforcement officers.

1 - PLAINTIFF’S FIRST AMENDED COMPLAINT

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On February 9, 2017, Don Perkins was suffering from a mental health crisis and called 911 to
report that he was feeling suicidal. Portland Police Bureau (PPB) Officers responded to the call
and verbally engaged Don Perkins and shouted orders at him, drew their weapons, and shot him
in the abdomen and his raised right arm.

2. The unconstitutional policies and practices of the PPB have resuited in numerous
police shootings of people experiencing a mental health crisis, such as Mr. Perkins. The patterns
and practices of engaging citizens in a mental health crisis with escalating shouting, violence,
and shooting has occurred at least since 2006, and has resulted in the injury or death of at least
23 people, 12 of which occurred in the last five years.

3. Asa result of the pattern and practice of PPB Officers’ civil nghts violations against
people in mental health crises and others, the US Department of Justice (DOJ) filed suit against
the City of Portland in 2012. The lawsuit alleged a pattern and practice of improper use of force,
and excessive use of force against the mentally ill. DOJ’s investigation that prompted the suit

found that:

“Encounters between PPB Officers and persons with mental illness too frequently result
in a use of force when force is unnecessary or appropriate, up to and including deadly
force. We found instances that support a pattern of dangerous uses of force against
persons that posed little or no threat and who could not, as a result of their mental illness,
comply with the officers’ commands. We also found that PPB employs practices that
escalate the use of force where there were clear earlier junctures when the force could
have been avoided or minimized.”

4. The lawsuit resulted in a settlement agreement that required changes to PPB policies

and training to improve PPB interactions with people suffering mental health crises and others.

 

' James Chasse, 2006; Aaron Campbell, 2010; Jack Collins, 2010; Keaton Otis, 2010; Darryel Ferguson, 20120;
Thomas Higginbotham, 2011; William Monroe, 2011; Bradley Morgan, 2012; Billy Simms, 2012; Merle Hatch,
2013; Santiago Cisneros If, 2012; Kelly Swoboda, 2014; Nick Davis, 2014; Christopher Healy, 2015; Michael
Harrison, 2015; Allen Belew, 2015; David James Ellis, 2015;Michael Johnson, 2015; Steven Liffel, 2016; Quanice
Hayes, 2017; Terrell Johnson, 2017; Chase Peeples, 2017; and Sarah Michelle Brown, 2018.

? DOI Investigation of PPB, Findings, pp. 2-3.

2 - PLAINTIFF’S FIRST AMENDED COMPLAINT Thomas C. Patton, P.C.
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Attempts to implement those changes, however, have not changed PPB’s pattern and practice of
escalating situations in which people suffering from mental health crises are encountered,
resulting in the excessive use of force against those citizens. The shooting of Mr. Perkins is the
result of PPB’s ongoing pattern and practice of using excessive against people suffering a mental
health crisis.
Ij. PARTIES

5. Plaintiffis a private citizen, and at all material times was a resident of Portland,
Oregon. Defendant City of Portland (Portland) is an incorporated city in Oregon under ORS
221.020 that operates the Portland Police Bureau (PPB), which in turn, hires trains, and
supervises police officers, including defendants PPB Officers Roger Walsh and Bradley Clark.
At all material times, Portland and the PPB exercised supervisory authority over Officers Walsh
and Clark and was responsible for hiring and training them. At all material times, Officers
Walsh and Clark were operating under the color of law as police officers.

IH. FACTS

6. On or about February 9, 2017, PPB Officers Walsh and Clark responded to call at
Powell Park at SE 26 Avenue and Powell Boulevard involving a potentially suicidal individual.
The officers encountered the potentially suicidal Don Perkins upon arrival at that location. The
officers verbally engaged Don Perkins, who was standing next to his van, a vehicle that he lives
in. Officers Walsh and Clark shouted at the mentally unstable Mr. Perkins, escalating the
intensity of the situation. Officers Walsh and Clark then drew their weapons while screaming at
Mr. Perkins and shot him. Two bullets struck Mr. Perkins: one in the abdomen, and one in his
raised right arm. Mr. Perkins fell to the pavement after being shot, striking his head on the

pavement and suffering a head injury. The Officers then held Mr. Perkins at gunpoint while he

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laid on the ground suffering from his gunshot wounds and head injury. The Officers then placed
Mr. Perkins in handcuffs.

7. Asa direct result of Defendants’ negligence and violations of his rights, plaintiff
suffered two gunshot wounds, requiring multiple surgeries, ongoing right arm neuropathy
including both pain and numbness, permanent injury to his lungs with breathing impediments,
and post-traumatic stress disorder.

IV. CAUSES OF ACTION

A. Violations of Civil Rights Under 42 USC 1983 — Fourth Amendment — Unlawful
Seizure and Excessive Force (Against Defendants Walsh and Clark)

8. Plaintiff re-alleges and incorporates herein the preceding paragraphs of this Complaint
as if set forth in full.

9. At all material times, defendants were acting under color of law.

10. The U.S. Constitution protects Plaintiff against unreasonable seizures and excessive
force. By arresting and detaining Plaintiff, defendants violated Plaintiff's Fourth Amendment
rights to be free from unreasonable seizure.

11. By engaging in the acts described herein, defendants, acting under color of law and
with deliberate indifference, violated the Piaintiffs' rights under the U.S. Constitution to be free
from unreasonable seizures and excessive force. Plaintiff's rights to be free from unreasonable
seizures as described above was clearly established in law at the time of the incidents alleged.

B. Violations of Civil Rights Under 42 U.S.C. § 1983 — Fourth Amendment —
Failing to Adequately Train and/or Supervise (Against Defendant Portland)

12. Plaintiff re-aileges and incorporates herein the preceding paragraphs of this
Complaint as if set forth in full.

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13. At all material times, Defendants were acting under color of law. Plaintiff, like all
United States citizens, has a constitutional right to be free from Defendant Portland’s
unconstitutional supervisory action or inaction under the Fourth Amendment to the United States
Constitution. Defendant Portland was deliberately indifferent to Plaintiffs civil rights by failing
to adequately train, monitor, or supervise Defendants Walsh and Clark. Defendant Portland
exhibited a deliberate indifference to the rights of Plaintiff by failing to promulgate a policy,
procedure, or practice to properly train Defendant’s officers and to thus prevent the tortious and
unconscionable mistreatment of Plaintiff. Defendant Portland failed to effectively implement
changes mandated by the settlement agreement with US DOJ to PPB policies and training to
improve PPB interactions with people suffering mental health crises and others. PPB’s
continued pattern and practice of escalating situations in which people suffering from mental
health crises are encountered, resulted in the excessive use of force against those citizens,
including Mr. Perkins.

C. Oregon Common Law — Negligence (Against AH! Defendants)

14. Plaintiff re-alleges and incorporates herein the preceding paragraphs of this
Complaint as if set forth in full,

15. Defendants have a duty to exercise reasonable care to avoid harming all foreseeable
Plaintiffs. Defendant Portland has a duty to exercise reasonable care in the training and
supervision of their employees and agents, including Defendants Walsh and Clark.

16. Defendants Walsh and Clark breached their duties by failing to de-escalate their
confrontation with Plaintiff, who was suffering a mental health crisis, and instead subjecting him
to an unreasonable assault with a firearm, arrest, and detention. Defendants’ act of shooting,

arresting, and detaining Plaintiff breached the standard of care.

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17. Defendant Portland negligently retained Officer Clark when it knew that he had
unjustly shot and nearly killed Marcus Lagozzino during his mental health crisis in 2010. When
all other officers used cither a Taser or bean bag rounds, Officer Clark fired 4 rounds from his
AR-15 assault rifle, striking Lagozzino with three rounds, during an encounter that lasted just 56
seconds. Defendant Portland’s failure to properly and adequately train Officers Walsh and Clark
in proper techniques for de-escalating interactions with people experiencing mental health crises
was unreasonable and breached the standard of care.

18. As a proximate result of Defendants’ negligence, Plaintiff has suffered significant
mental, emotional, and physical damages, as well as special damages.

V. PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

a. $950,000 in non-economic damages;
b. $313,719 in economic damages in the form of past medical expenses,
c. $45,000 in economic damages in the form of future medical expenses,

d. Plaintiffs attorney fees under 42 USC 1983, and
b. Plaintiff's costs and disbursements incurred herein.
19, Plaintiff seeks compensatory, punitive, and all other forms of damages available
under 42 USC 1983 for violations of his civil rights.
20, Plaintiff seeks reasonable costs and attommey fees incurred in prosecuting this matter.
21. Plaintiff seeks declaratory relief and requests a ruling declaring that the policies,
procedures, or practices that resulting in the abuse and mistreatment of Plaintiff and others
similarly situated constituted tortious and unconstitutional acts, depriving Plaintiff of his rights
under the Fourth and Fourteenth Amendments to the United States Constitution.

22. Plaintiff prays for such other equitable or legal relief as the Court deems just.

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VI. RESERVATION OF RIGHTS

Plaintiff reserves the right to assert additional claims as may be appropriate following

further investigation and discovery.

DATED this 26" day of June, 2018.

Plaintiff requests trial by jury.

7 + PLAINTIFE’S FIRST AMENDED COMPLAINT

 

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